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CONFIDENTIAL

VIA HAND-DELIVERY & CERTIFIED MAIL

To: Kevin Robinson, Fire Chief

From: Marshfield Board of Selectmen

CC: Mark D. Smith, Esq.

Date: November 25, 2014

Re: Notice of Investigation by Special Counsel

On Monday, November 24, 2014, the Marshfield Board of Selectmen voted
unanimously to retain Attorney Mark D. Smith, of the law firm of Laredo
and Smith, LLP, as special counsel, to perform a comprehensive
investigation into allegations of unlawful conduct and recent events in the
Marshfield Fire Department.

You are advised that Attorney Smith has been charged to investigate
allegations that Marshfield Fire Department personnel have been engaged in
conduct that violates G.L. c. 268A, the Conflict of Interest Law. Attorney
Smith’s résumé and contact information is attached to this notice. The
Board expects he will be in contact with you immediately.

The Board desires to complete this investigation as quickly as practicable so
as to minimize the potential impact on Fire Department operations; however,
it is likely that Attorney Smith’s investigation will necessarily involve some
disruptions to schedules and the Board expects your accommodating him in
this matter. In order to facilitate the investigation, the Board is issuing to
you the following directives:

1. You are hereby ordered to fully cooperate with Attorney Smith and
any persons working with him during this investigation in any way

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he deems necessary and appropriate. That cooperation includes,
but is not limited to, making yourself available for interviews by
Attorney Smith upon reasonable notice, and by providing any
information and/or documents promptly upon request.

2. You are ordered to require and expressly direct that all Fire
Department personnel fully cooperate in this investigation, and, if
requested to do so, you shall issue direct written orders mandating
cooperation to any and all Fire Department personnel whose
participation is requested by the investigator.

The safe, efficient and lawful operation of the Marshfield Fire Department is
our foremost concern at this time. The alleged conduct, if true, could
seriously undermine the operation, which is why we, as Selectmen, have
taken this action.

We wish to make it clear to you, to all Fire Department personnel or any
other person that the Board will not tolerate any delay, obstruction or
interference with this investigation, any intimidation of any witness, or any
form of retaliation against any witness or participant in this investigation.

If you have any questions regarding this notice, you may contact Town
Counsel Robert W.Galvin or Labor Counsel John Clifford.

TOWN OF MARSHFIELD
By its BOARD OF SELECTMEN
John Hall, Chairman

Matthew McDonough, Vice-Chairman
Stephen Robbins, Clerk

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